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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :       Case No. 22-cr-217 (DLF)
                                              :
LUIS HALLON,                                  :
                                              :
                       Defendant.             :


            GOVERNMENT’S NOTICE OF FILING OF EXHIBITS PURSUANT
                       TO LOCAL CRIMINAL RULE 49

       The United States hereby gives notice, pursuant to Local Criminal Rule 49 and for clarity

of the record, of the following exhibits that were provided to the Court and all counsel to be used

by the government in the sentencing in this matter. The exhibits are four different Capitol Closed

Circuit Video clips that depict the defendant’s conduct on January 6, 2021, which forms the basis

for this prosecution. The exhibits are as follows:

       1.      Government Exhibit A is a video approximately that portrays Mr. Hallon’s entry

through the Columbus Doors on the east side of the Capitol. The video is from approximately 3:02

p.m. on January 6, 2021.

       2.      Government Exhibit B is a video that portrays Mr. Hallon’s entry through the

Columbus Doors from a different angle on the east side of the Capitol. The video is from

approximately 3:02 p.m. on January 6, 2021.

       3.      Government Exhibit C is a video, approximately eight minutes and fifty seconds

long that portrays Mr. Hallon’s entry into the Rotunda of the U.S. Capitol Building, his time spent

within the Rotunda, and his exit. The video is from approximately 3:03 p.m. on January 6, 2021.

       4.      Government Exhibit D is a video that portrays Mr. Hallon’s exit through the

hallway between the Rotunda and the Columbus Doors, and subsequent exit through the Columbus


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Doors. The video is from approximately 3:16 p.m. on January 6, 2021.


                                           Respectfully submitted,

                                           MATTHEW M. GRAVES
                                           United States Attorney
                                           D.C. Bar No. 481052

                                    By:    /s/ Kyle M. McWaters
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                                CERTIFICATE OF SERVICE

       On this 19th day of April, 2023, a copy of the foregoing was served upon all parties listed
on the Electronic Case Filing (ECF) System.


                                             By:    /s/ Kyle M. McWaters
                                                    Kyle M. McWaters
                                                    Assistant United States Attorney




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